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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA

ALAN EUGENE MILLER                 )
                                   )
      Plaintiff,                   )
                                   )
v.                                 ) Case No. 2:22-cv-00506-RAH
                                   )
JOHN Q. HAMM, Commissioner,        )
Alabama Department of Corrections, )
TERRY RAYBON, Warden, Holman )
Correctional Facility, and         )
STEVE MARSHALL, Attorney           )
General, State of Alabama          )
                                   )
      Defendants.                  )

                         NOTICE OF APPEARANCE

      COMES NOW the undersigned, Audrey Jordan, and enters her appearance

as counsel for the Defendants in the above-styled cause.

                                            Respectfully submitted,

                                            Steve Marshall
                                            Attorney General


                                            s/ Audrey Jordan
                                            Audrey Jordan
                                            Assistant Attorney General
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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 23, 2022, I electronically filed the foregoing

with the Clerk of the Court using CM/ECF system. I also served a copy upon

counsel for the plaintiff via electronic mail, addressed as follows:

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